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 8

 9                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
10
11
      In Re DMCA Section 512(h) Subpoena to   Case No.: 3:19-mc-80005 SK
12    Reddit, Inc.
                                              DECLARATION OF JOHN DOE
13                                            (DARKSPILVER) IN SUPPORT OF
                                              MOTION TO QUASH
14                                            WATCHTOWER BIBLE & TRACT
15                                            SOCIETY INC.’S SUBPOENA TO
                                              REDDIT, INC. SEEKING
16                                            IDENTITYIFYING INFORMATION

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      DECL. OF JOHN DOE (DARKSPILVER) ISO                         Case No.: 3:19-mc-80005 SK
      MOTION TO QUASH
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            Using my Reddit user name, DARKSPILVER, instead of my actual name, in order to
 1

 2   protect my identity pursuant to the First Amendment and California law, I declare as follows:

 3
            1.       I am the owner of the Reddit user account DARKSPILVER. I have personal
 4
     knowledge of all matters set forth in this declaration.
 5
            2.       I am providing this declaration under my Reddit user name because I wish to
 6
     protect my rights to free speech, participation in associational activities, and religious freedom. I
 7
     also wish to avoid making moot the very issues which I have raised in this motion. A true and
 8
     correct copy of my actual signature for this document resides with my attorneys.
 9
            3.       My parents raised me as a Jehovah’s Witness, and I have been a member of that
10
     community my whole life. Many of my friends and family members today are active Jehovah’s
11
     Witnesses. I still consider myself a practicing Jehovah’s Witness, but like people of many faiths,
12
     there are aspects of the organization’s teachings and practices that I have issues with.
13
            4.       I wish I could discuss my views openly with other members of the community,
14
     but unfortunately, different opinions—and even questions—are strongly discouraged. In my
15
     experience, people who voice their disagreement or doubts ultimately face rejection and
16
     disapproval from other members of the Jehovah’s Witness community, including leadership and
17
     ordinary members. Those who depart from the organization’s teachings publicly may be labelled
18
     “apostates” and be excommunicated or “disfellowshipped” from the community. When people
19
     are disfellowshipped, other Jehovah’s Witnesses, including friends and family members, cut off
20
     ordinary social interactions. I have personal knowledge of people in the community who have
21
     been shunned by Jehovah’s Witnesses due to the opinions they have voiced, including people
22
     with whom they had close relationships.
23
            5.       For approximately the past few years, I have participated in a community of self-
24
     described Jehovah’s Witnesses on Reddit. I do not consider myself a “former” member, but it is
25
     the only place I have been able to discuss and debate discuss matters related to the Jehovah’s
26
     Witnesses freely and openly with people who have a wide range of views that they, too, feel free
27
     to share candidly. I chose to participate in the community on Reddit instead of other social
28
     medial platforms largely because Reddit allowed me to use a pseudonym not publicly connected
29                                                     2
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 1   to my real name or identity. Keeping my name and identity private is necessary for me to feel

 2   comfortable participating in open discussions about religious teachings and practice.

 3   Participating in the forum has been important for me to share and access truthful information and

 4   a wide range of opinions about the Jehovah’s Witness organization.

 5           6.        I am a foreign citizen, residing in the country of my citizenship, but many

 6   participants in the subreddit are based in the United States, according to a map that participants

 7   in the community made and update themselves. See https://www.zeemaps.com/map?group=1671

 8   590#. While the map itself is likely imprecise, it is consistent with my impression, based on

 9   participating in the subreddit and reading the posts of others, that a substantial number of

10   members live in the United States. The Jehovah’s Witness organization is based in the United

11   States, but has members around the world. I believe it is important for Jehovah’s Witnesses in

12   different countries to communicate with each other. Information available in some places may be

13   useful to those of us elsewhere. At the same time, the organization’s leadership and direction

14   affects us all.

15           7.        On February 7, 2019, I received a notice from Reddit of a subpoena for

16   identifying and usage information associated with my user account. I am now moving to quash

17   this subpoena.

18           8.        It is my understanding that two images I posted online are the subject of

19   Watchtower’s subpoena. The first is a copy of an advertisement from the November 2018 issue

20   of the Watchtower Magazine (“Ad”). Attached as Exhibit A is a true and correct of the image of

21   the Ad that I posted on the former Jehovah’s Witness subreddit. Attached as Exhibit B is a true

22   and correct image of my Reddit post with my commentary and comments from other users as it

23   appears with the picture of the Ad removed. To my knowledge, the Watchtower magazine,

24   including the issue in which the Ad appeared, is available for free online at

25   https://www.jw.org/en/publications/magazines.

26           9.        I shared the image of the Ad for a number of informational reasons: to show how

27   openly the organization was petitioning for financial donations from members, to illustrate the

28   organization’s use of commercial advertising design, and to point out the organization’s

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 1   encouragement of online donations. All of these represented major changes from teachings and

 2   practices the organization had to my knowledge espoused in the past. I wanted to inform others

 3   and spark discussion about the organization’s tone, message, and fundraising practices. I did not

 4   make any money by posting the Ad; nor do I know of anyone who did.

 5          10.     The second image at issue in the Subpoena is a screenshot of a chart with

 6   information about the personal data the Jehovah’s Witness organization stores and processes

 7   along with citations to relevant provisions of a European Union data privacy law called the

 8   General Data Protection Regulation (the “Chart”). Attached as Exhibit C is a true and correct of

 9   the image of the Chart that I posted on the former Jehovah’s Witness subreddit. I created this

10   image using data in an Excel file that I re-formatted to make it more visually appealing and easy

11   to read on a screen. For example, I re-formatted and edited certain columns. I then took a

12   screenshot of the edited chart and posted that on Reddit. Attached as Exhibit D is a true and

13   correct image of the Excel file that I used to make the Chart.

14          11.     My purpose in posting the Chart was to provide information to people in the

15   Jehovah’s Witness community about the type of information the organization actually stores and

16   what it does with that information. I am aware of concerns that some former Jehovah’s

17   Witnesses have with respect to data the organization collects and stores. For example, the

18   organization keeps records of the number of hours individual Witnesses spend doing direct

19   evangelical outreach. The organization also keeps information about its internal handling of

20   many issues, including abuse allegations. Although some people are concerned about data in the

21   organization’s possession, I am concerned about excessive deletion of stored information, largely

22   because it might include information about past abuses (or the handling of past abuses) that

23   might be helpful in the future for discovering or substantiating claims. It is my understanding

24   from news reports that information stored by the Jehovah’s Witnesses has in fact been used to

25   aid successful prosecutions of abusers, including in Australia.

26          12.     I believe that, should Watchtower gain access to my identity information, it would

27   not only chill my speech activity, but penalize me for engaging in such speech by damaging or

28   destroying my relationships with friends and family who remain active members of the

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 1   Jehovah’s Witness community. Watchtower will likely be able to use information they receive

 2   from Reddit to connect the user “DARKSPILVER” to my real identity because the Jehovah’s

 3   Witnesses have collected lots of information about me (including my name and address) over the

 4   course of life in the community. Because I have been part of this community my whole life, the

 5   pain of social exclusion would be overwhelming as would the negative effects on my physical

 6   and mental wellbeing. That exclusion would be even worse because I will not feel comfortable

 7   talking about my experience openly online if my identity is revealed in this matter. Had I known

 8   that my name would be revealed, I would not have shared truthful information or commentary

 9   regarding the Jehovah’s Witness organization. My speech activities and specifically, my

10   dissemination of such information and commentary will be chilled if Reddit releases my identity

11   and the details of my account usage to Watchtower. I have already stopped posting on the former

12   Jehovah’s Witness subreddit and, if my identity is disclosed, will not begin again. Since learning

13   of this subpoena, I have had a general feeling of insecurity fearing that my identity could be

14   disclosed because of the information I shared with others on Reddit. I fear even more severe

15   repercussions—in particular, social alienation from longstanding relationships with friends and

16   family in the Jehovah’s Witness community— should Watchtower discover who I am.

17

18          I declare under penalty of perjury that the foregoing is true and correct to the best of

19   my knowledge and belief. Signed on this 26th day of March, 2019.

20

21
                                                   [name and signature redacted]
22                                                  John Doe aka Darkspilver
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